This is an action to quiet title. Defendant appeals from a judgment for plaintiffs.
Appellant, appearing in her own behalf, presents a brief which, although most excellent in the language employed in its composition, makes no point raising even a momentary doubt whether the judgment should be affirmed. In fact, after stating that she "has not sufficient funds to bear the expense of employment of skilled counsel" — a situation which naturally enlists our great sympathy — appellant says that "this brief must therefore make its appeal more in the nature of a human document than by an exposition of legal talent." We cannot aid appellant, sympathize with her unfortunate situation as deeply as we may. [1] A judgment of a trial court must stand as a finality unless it be made to appear, by the party prosecuting an appeal from it, that some error has occurred in the proceedings leading to its rendition.
Judgment affirmed.
Finlayson, P. J., and Craig, J., concurred. *Page 516 